                Case 21-13079-amc                 Doc      Filed 07/25/22 Entered 07/25/22 17:41:46                             Desc Main
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Fill in this information to identify the case:

Debtor 1 Hazel Williamson

Debtor 2
(Spouse, if filing)


United States Bankruptcy Court for the: EASTERN                    District of PENNSYLVANIA
                                                                               (State)

Case number 21-13079-AMC



Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                     12/16


If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s
principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy filing that you
assert are recoverable against the debtor or against the debtor’s principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.


Name of creditor:               U.S. Bank National Association, not in its           Court claim no. (if known)        26
                                individual capacity but solely as trustee of
                                NRZ Pass-Through Trust XII

Last four digits of any number you                 XXXXXX9944
use to identify the debtor’s account:

Does this notice supplement a prior notice of postpetition fees, expenses,
and charges?
   No
   Yes. Date of the last notice:

Part 1:               Itemize Postpetition Fees, Expenses, and Charges

Itemize the fees, expenses, and charges incurred on the debtor's mortgage account after the petition was filed. Do not include any escrow
account disbursements or any amounts previously itemized in a notice filed in this case or ruled on by the bankruptcy court.
        Description                                                                       Dates incurred                                Amount

1.      Late charges                                                                                                             (1)    $            0.00
2.      Non-sufficient funds (NSF) fees                                                                                          (2)    $            0.00
3.      Attorney fees                                                                                                            (3)    $            0.00
4.      Filing fees and court costs                                                                                              (4)    $            0.00
5.      Bankruptcy/Proof of claim fees                                                                                           (5)    $            0.00
6.      Appraisal/Broker's price opinion fees                                                                                    (6)    $            0.00
7.      Property inspection fees                                                                                                 (7)    $            0.00
8.      Tax advances (non-escrow)                                                         3/2/2022,                              (8)    $         148.57
9.      Insurance advances (non-escrow)                                                   7/19/2022,                             (9)    $        2,216.00

10. Property preservation expenses. Specify:          _____________                                                              (10)   $            0.00



The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.

If the court has previously approved an amount, indicate that approval in parentheses after the date the amount was incurred.




Official Form 410S2                              Notice of Postpetition Mortgage Fees, Expenses, and Charges                                page 1
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Debtor 1        Hazel Williamson                                                    Case number (if known)      21-13079-AMC
                First Name   Middle Name Last Name



Part 2:          Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number if different from the notice address listed on the proof of claim to which this Supplement applies.
Check the appropriate box.

 I am the creditor.
 I am the creditor’s authorized agent.

I declare under penalty of perjury that the information provided in this Notice is true and correct to the best
of my knowledge, information, and reasonable belief.

           X     /s/Dana O'Brien                                                                        Date       07/25/2022
                 Signature

Print:           Dana                                                     O'Brien                       Title      Authorized Agent
                 First Name                   Middle Name                 Last Name

Company          McCalla Raymer Leibert Pierce, LLC

Address          1544 Old Alabama Road
                 Number           Street
                 Roswell                              GA                   30076
                 City                                 State                ZIP Code

Contact phone           (312) 346-9088 X5188                                   Email        Dana.OBrien@mccalla.com




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                             UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA


In re:                                                                   )
                                                                         )      Case No. 21-13079-AMC
Hazel Williamson                                                         )      Chapter 13
                                                                         )
                                                                         )      JUDGE: Ashely M. Chan


                                                               EXHIBIT B

                                                   ITEMIZATION OF CLAIM
Tax Advances (non-Escrow)                                                                                                            $148.57

             03/02/2022                                         Taxes Advanced                                           $148.57

Insurance Advances (non-Escrow)                                                                                                    $2,216.00

             07/19/2022                                         Homeowner’s Insurance                              $2,216.00
                                                                Advanced




 TOTAL POSTPETITION FEES, EXPENSES, AND CHARGES:                                                                                  $2,364.57

The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid. See 11
U.S.C. § 1322 (b)(5) and Bankruptcy Rule 3002.1
BCase    21-13079-amc
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                                                             Bankruptcy Case No.:      21-13079-AMC
 In Re:                                                      Chapter:                  13
           Hazel Williamson                                  Judge:                    Ashely M. Chan

                                         CERTIFICATE OF SERVICE

        I, Dana     O'Brien, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama Road, Roswell, GA
30076, certify:

          That I am, and at all times hereinafter mentioned, was more than 18 years of age;

         That on the date below, I caused to be served a copy of the within NOTICE OF POSTPETITION
MORTGAGE FEES, EXPENSES, AND CHARGES filed in this bankruptcy matter on the following parties at
the addresses shown, by regular United States Mail, with proper postage affixed, unless another manner of
service is expressly indicated:

Hazel Williamson
1128 Tilghman St
Chester, PA 19013

SHAINA PRISCILLA BETHALA                            (served via ECF Notification)
Legal Aid of Southeastern PA
419 Avenue Of The States
Suite 605
Chester, PA 19013

SCOTT F. WATERMAN (Chapter 13)                      (served via ECF Notification)
Chapter 13 Trustee
2901 St. Lawrence Ave.
Suite 100
Reading, PA 19606

United States Trustee                               (served via ECF Notification)
Office of United States Trustee
Robert N.C. Nix Federal Building
900 Market Street
Suite 320
Philadelphia, PA 19107

     I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
CORRECT.

Executed on:        07/25/2022          By:     /s/Dana O'Brien
                      (date)                    Dana O'Brien
                                                Authorized Agent for U.S. Bank National Association, not in
                                                its individual capacity but solely as trustee of NRZ Pass-
                                                Through Trust XII
